Case 2:05-cr-20088-SH|\/| Document 24 Filed 07/14/05 Page 1 of 2 Page|D 30

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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESS ugoh
WESTERN DIVISION EUBJUL'h AH

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 05-20088-Ma

WILLIAM BARRY MORRIS,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on June 24, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from June 24, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h}{8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDERED this Lg}(\ day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Honorable Samuel Mays
US DISTRICT COURT

